 Case 19-05007-jw                                Doc 14                  Filed 10/07/19 Entered 10/07/19 13:02:55                                                                         Desc Main
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                                                                       SOUTH CAROLINA RESIDENTIAL LEASE AGREEMENT

        THIS AGREEMENT IS SUBJECT TO ARBITRATION PURSUANT TO THE FEDERAL ARBITRATION ACT AND/OR SECTION 15-48-10 ET SEQ., OF THE
                                                    UNITED STATES BANKRUPTCY COURT
        SOUTH CAROLINA CODE OF LAWS (1976), AS AMENDED.

        THIS RESIDENTIAL LEASE AGREEMENT ("Lease" or “Agreement”) is made this 13th of May, 2019 between Landlord and Resident(s). Subject to the
                                                      DISTRICT OF SOUTH CAROLINA
        Lease Summary and Specific Terms and General Terms and Conditions set forth below, Landlord leases to Resident(s), and Resident(s) leases from
        Landlord for the initial term beginning on the Lease Start Date and ending on the Lease End Date, the Apartment located at the Property.

        LEASE SUMMARY AND SPECIFIC TERMS

In re:Property (also referred to as “Premises”): Farmington Village                                                         Case No. 19-05007-jw
        Property Address:
        2100 Farm Springs Road
             CANDACE ANITREL PAGE,
        Summerville, SC 29483                                                                                               Chapter 13
        Landlord (referred to as “Landlord” “We” or “Our”): Mid­America Apartments, L.P., a Tennessee limited partnership

             Debtor.(s)
        Resident(s) (referred to as “Resident”, “You”, or “Your”):
        Candace Page

        Occupant(s):
        Camden Kirkman-Page
        London Page
                                                             OBJECTION TO CONFIRMATION
        Apartment:
                      Mid America Apartments (“Creditor”) a secured creditor in the above captioned
        505 Farm Springs Rd
        Summerville, SC 29483

      case,   byDate:
       Lease Start and   through its undersigned attorney, hereby files its Objection to Confirmation
                      05/17/2019

        Lease End Date: 06/16/2020
      ofMonthly
          theBase
                Debtor’s     Plan (“Objection”), on the following grounds:
                  Rent: $1457.00

                                                    STATUTORY PREDICATES FOR RELIEF
        New Account Set Up Fee: $50.00, which will be waived if this is the renewal of an existing lease between Landlord and Resident

        Security Deposit: $0.00
               1. This Court has jurisdiction of this proceeding under 28 U.S.C. §157(b)(2)(G).
        SMAArt Savings Fee: $728.50

               2. The statutory predicate for relief is 11 U.S.C. § 365.
        Additional Deposits:

        Additional Rentable Items:

        Other Recurring Charges:                                                                FACTS
        Monthly MAA Connect Fee: $36.00 Per Month.
               3. Movant is the Landlord of the property where the Debtor currently resides,
        Monthly Pest Fee: $4.99 Per Month.
        Monthly Trash Fee: $9.00 Per Month.

      apartment          505 Farm Springs Rd, Summerville, SC 29483.
       You DO NOT HAVE a pet at this time. If You wish to have a pet, You must first obtain Landlord’s permission which may be withheld in Landlord’s sole
       discretion. If permission is granted by Landlord, You agree to sign an Addendum to Your Lease which will require, among other things, that You will
        comply with all of the provisions regarding pets set forth in the General Terms and Conditions of this Lease. You will be required to pay a Non-
               4. Debtor signed a lease with Movant on May 13, 2019 (the “Lease”) under which
        refundable Pet Fee and Monthly Pet Rent as set forth in the Addendum. The Non-refundable Pet Fee, due in consideration for the privilege of having a pet
        on the Premises and in the Apartment, is payable, at Landlord’s discretion, either in full when you move into Your Apartment or in two equal installments.
        If Landlord agrees to allow you to pay in installments, one-half of the Non-refundable Pet Deposit will be due on Your move in date and the remaining
      Debtor was to pay the base rent plus other recurring charges on or before the first day of
        one-half will be due on the first day of the following month. This Non-refundable Pet Fee is a fee and not a deposit. The Non-refundable Pet Fee will not
        be returned to You and will not be applied to damages caused by Your pet or for any other reason. Monthly Pet Rent is in addition to Base Monthly Rent.
        You agree to pay Monthly Pet Rent for each pet each month in advance on the first day of the month without notice.
      the month. An excerpt of this information appears below.
        GENERAL TERMS AND CONDITIONS:
        charge or You may elect by written notice to Landlord, to receive this statement via US mail. You will be charged $4.95 each month for a paper
        statement
        1. RENT: (“Paper Statement Fee”) which will be mailed to the Apartment address or to such other address as You designate in writing to Landlord. The
        Paper Statement Fee is for administration, billing, overhead and similar expenses and charges incurred by us for providing and processing billing
        statements
        1.1 You agree andtoalso
                             pay includes
                                   Landlordour  theprofit  margin.
                                                     Monthly   BaseThis Rent, Paper
                                                                                 whichStatement
                                                                                         is payableFee   willmonth
                                                                                                      each   be constant      regardless
                                                                                                                     in advance      on theoffirst
                                                                                                                                                the(1st)
                                                                                                                                                     numberday of each
                                                                                                                                                                     other month.
                                                                                                                                                                             chargesRentcontained     on your
                                                                                                                                                                                              is payable   on
        billing statement
        Landlord's   online and    may be
                              payment         changed
                                          portal   or such(with
                                                             otherthirty
                                                                     place(30)asdays   written
                                                                                  Landlord      notice
                                                                                              may       provided
                                                                                                   designate.      to You)
                                                                                                                 Rent          if ourthe
                                                                                                                        paid after    actual
                                                                                                                                          firstexpenses
                                                                                                                                                (1st) day of  increase.
                                                                                                                                                                 the month  This
                                                                                                                                                                               is Paper
                                                                                                                                                                                   late. If Statement    Fee is
                                                                                                                                                                                            the Lease Start
        not a ischarge
        Date     not thefor  drinking
                          first (1st) daywater,   wastewater,
                                             of the  month andgas   thisor is electricity  fromof
                                                                              the initial term  the  retail
                                                                                                  this      public
                                                                                                        Lease,      utility
                                                                                                                 then   Yourfrom    whichBase
                                                                                                                               Monthly       suchRent
                                                                                                                                                    utility
                                                                                                                                                          forservices
                                                                                                                                                               that monthis provided,     and does
                                                                                                                                                                              will be prorated     andnot
                                                                                                                                                                                                        will
        be  payable
        include   anyin  advance
                      fees           onus
                             billed to   thebyLease    Startpublic
                                                 that retail  Date. utility
                                                                       If the for
                                                                                Lease
                                                                                   anyStart    Datedisconnect,
                                                                                         deposit,    is not the first  (1st) daylate
                                                                                                                  reconnect,        of the  monthorand
                                                                                                                                       payment         otherthissimilar
                                                                                                                                                                  is a renewal
                                                                                                                                                                          fees. If of a prior lease
                                                                                                                                                                                    Landlord    does not
        between    Youemail
        have a valid    and Landlord,
                                account on  then
                                               fileYour  Monthly
                                                    for You   at theBase
                                                                       time Rent     for thatare
                                                                               statements      month
                                                                                                 sent will
                                                                                                        out be
                                                                                                            forprorated    and will be
                                                                                                                 Your Apartment,       You payable
                                                                                                                                              will be in  advance
                                                                                                                                                       charged      theon   the first
                                                                                                                                                                         Paper        (1st) dayFee.
                                                                                                                                                                                  Statement       of the
                                                                                                                                                                                                       You can
        month
        elect toalong  with
                  change      thebilling
                           your    prorated    rent due
                                          statement        underatYour
                                                        option              prior during
                                                                     any time     lease. your Lease term. Converting from Online/Electronic Statement to a paper statement may
        take two (2) billing cycles and You will not be charged the Paper Statement Fee until you actually receive the paper statement. You agree to pay
        1.2  Any additional
        Landlord   a final billsums
                                 fee oforOne
                                          charges
                                               Dollardueandfrom    You under
                                                             Ninety-Five          this Lease
                                                                               Cents   ($1.95)including,
                                                                                                 which willbut   not limited
                                                                                                             appear    on your to,final
                                                                                                                                   sums    for Storage Unit(s), Parking, Garage, trash, late
                                                                                                                                        bill.
        fees, other fees, utilities, or because of a breach or violation of this Lease (“Additional Sums”) shall be due as additional rent. Such Additional Sums shall
        also  include, but   are  not  limited   to, damages      exceeding      normal    wear  and   tear to the  Apartment
        1.3 Only after Total Rent (which shall include Monthly Base Rent and the Additional Sums) is tendered will rent            or  Premises,     when     such damages
                                                                                                                                                         payment      be accepted. are caused
                                                                                                                                                                                        Total Rentby You
                                                                                                                                                                                                      mustorbe
        Your   Occupants,
        submitted             guests or invitees.
                    in full. Landlord’s     acceptance Youof will
                                                               any receive
                                                                      partialapayment
                                                                                 monthly billing  statement
                                                                                            does not            that outlines
                                                                                                       waive Landlord’s           yourunder
                                                                                                                             rights     current
                                                                                                                                              thismonthly
                                                                                                                                                    Lease or   charges;
                                                                                                                                                                  applicablehowever,    it is nor
                                                                                                                                                                                State law     Yourits right to
        responsibility
        demand payment  to pay in the
                                  full.balance     owed Landlord’s
                                        Furthermore,     each month,         regardlessofofany
                                                                         acceptance           whether
                                                                                                 partialorpayment
                                                                                                            not a statement
                                                                                                                      shall notisbereceived.
                                                                                                                                      construed  Youascan     receive
                                                                                                                                                         a waiver     of this statement
                                                                                                                                                                         paying              via nor
                                                                                                                                                                                    rent in full email
                                                                                                                                                                                                     doesat no
                                                                                                                                                                                                             it
        release You from your obligation to pay rent in full when due or demanded. Landlord reserves its rights to pursue any and all available civil remedies for
                                                                                                                                                                                                    Page 1 of 23
        You failing to pay rent in full when due or demanded.

        1.4 All rent shall be paid by direct debit, ACH, or other electronic means established and approved by Landlord, personal check drawn on Your personal
        account, cashier's check, certified funds, other checks made payable to Landlord, or money order. You shall remain liable for any and all convenience
                                                                                                                                                   rdthis Lease.
               5. A grace period is provided allowing for payment to be made until the 3 day of
        fees associated with any electronic payments. You will not use and Landlord shall have the right to refuse cash for any payment due under

        1.5 You agree to pay to Landlord with your Monthly Base Rent, any sales, municipal or other rental tax due as a result of this Lease and charged by
      each month. An excerpt of this language appears below.
        Landlord, including any increases in any such tax during the term of the Lease, and Landlord will remit such amounts to the appropriate taxing
        authority.

        1.6 You waive all rights to deduct or offset any sums from rent , whether such rights exist now, arise after the Lease Start Date, or were created by
        statute or other laws. Notwithstanding the foregoing, nothing herein or elsewhere in the Lease shall be deemed to constitute a waiver of any right or
        remedy provided to You by applicable law, which right or remedy may not be waived pursuant to such law.

        1.7 Monthly Trash Fee: Landlord shall provide the following services: maintenance of the grounds and removal of trash deposited by You in the trash
        chute or common area dumpster. Landlord may elect to provide additional services at its sole discretion. You must pay a proportional share of trash
        collection and removal services as a Monthly Trash Fee. The current Monthly Trash Fee appears above. The Monthly Trash Fee may be adjusted by
        Landlord during the term of the Lease, or any extension or renewal hereof, by Landlord providing You notice. Any such adjustment to the Monthly Trash
        Fee will go into effect on the first day of the subsequent month after the expiration of thirty (30) days from which Landlord gives You notice. This
        amount shall be due and payable as additional rent.                                             1
        1.8 Rent Increases: You agree that sixty (60) days prior to the Lease End Date, or at any time thereafter, Landlord shall have the right to increase the
        Monthly Base Rent and any other rent or sums due under this Lease by giving You no less than sixty (60) days' written notice (the “rent increase notice
        period”), and such increase shall not terminate this Lease.
      14.10 Any Resident or Occupant who is under court order prohibiting entry to the Apartment or Premises is no longer entitled to occupancy, keys, or
   other access devices while the order is in effect.
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                                                      Document
   14.11 You agree that any recreation, service, and amenities                     Page
                                                               areas, if they are available     2 Premises,
                                                                                            at the of 4 are merely ancillary to this Lease and may be
      used by You only with the permission of Landlord. You also agree that Landlord may curtail or eliminate such services or facilities in its sole discretion,
      and You will not be relieved from the terms of this Lease or entitled to any reduction in rent if such services or facilities are curtailed or eliminated.

      14.12 Any violation of the Rules and Regulations by You, an Occupant, or guest or invitee will be considered a violation of this Lease by You.

      14.13 The Rules are part of this Lease and enforceable as terms and conditions of this Lease.
      2. LATE PAYMENTS; RETURNED CHECKS, ACH TRANSACTIONS, OR OTHER PAYMENTS:
      14.14 Landlord may exclude any guest that Landlord determines, in its sole discretion, to be violating the law, violating the Lease, violating the Rules, or
      Time    is of any
      disturbing    the essence      of this Lease.
                          other residents,     visitors,If or
                                                           Your
                                                              Ourrent   is not paid onLandlord
                                                                    representatives.       or beforemay       Third (3rd
                                                                                                         the exclude      ) day
                                                                                                                        any      of thewho
                                                                                                                             person     month,    a late
                                                                                                                                            refuses   to fee  or charge
                                                                                                                                                          properly          in the
                                                                                                                                                                     identify       amount
                                                                                                                                                                                himself      of 20.00%
                                                                                                                                                                                         or herself or
      of the Base
      identify   whichMonthly
                         ResidentRentor Such
                                        Occupant"full monthly     rent" shall
                                                      gave permission        forinclude
                                                                                  him/her alltoadditional
                                                                                                 be on themonthly
                                                                                                             Premises.rent due for any Additional Rentable Item. Payments received any
      time after the office has closed for the day or on a holiday or other day when Landlord’s office is not open for business will not be credited to Your
      account
      14.15 You   until
                     maythehave
                             nextabusiness
                                    home office dayinand    a late
                                                        order        fee mayabe
                                                                 to operate          incurred.
                                                                                  business        Electronic
                                                                                               in the Apartment,payments
                                                                                                                     if You will be credited
                                                                                                                             comply    with theto  Your account
                                                                                                                                                 following           at the(1)
                                                                                                                                                            conditions:       time
                                                                                                                                                                                Yourfunds
                                                                                                                                                                                       homearebusiness
                                                                                                                                                                                               actually
      received.
      must comply with all applicable laws; (2) You cannot employ anyone at the Apartment besides You or anyone named as an Occupant on this Lease; (3)
      You do not require receipt or delivery of merchandise, goods, or equipment other than by parcel or letter carrier mail service; (4) You must not be a
      2.1  If Landlord
      nuisance;    (5) Youelects
                              musttonot
                                      accept    latestock
                                          display     rent,inYou    shall
                                                                trade      tender
                                                                       in the       all late or
                                                                               Apartment       rents, court
                                                                                                  on the      costs and
                                                                                                          Premises;     (6)attorney’s
                                                                                                                            Your homefees,     and administrative
                                                                                                                                          business    must not require filing
                                                                                                                                                                            anyfees  to Landlord
                                                                                                                                                                                 special          only by
                                                                                                                                                                                          permit or
      cashier's
      license; (7) check,
                     You mustcertified  check additional
                                   not cause     or money vehicles
                                                               order. Acceptance
                                                                          of suppliers,  ofvendors,
                                                                                              late rent delivery
                                                                                                        is not a services,
                                                                                                                   waiver ofcustomers
                                                                                                                               the requirement      thattorent
                                                                                                                                            or clients     parkisindue
                                                                                                                                                                    theon    the first (8)
                                                                                                                                                                          Premises;    (1st) day of the
                                                                                                                                                                                           Your
      month.
              6. The Lease provides that in the event that payment is not made by the due date,
      customers and/or clients of the home business may not come to the Apartment or on the Premises to receive goods or services; and (9) You may not
      display signage relating to or identifying the home business. Landlord will not sign or otherwise agree to any business license or similar application. A
      home
      2.2  In business
               the eventpermitted
                            Your rentby     this Lease
                                         check    or anyincludes,
                                                            other checkby way     of example
                                                                             written   by You or  and notdirect
                                                                                                     any    by limitation,  an internet-based
                                                                                                                  debit, ACH,                     company,
                                                                                                                                 or other electronic           legalmade
                                                                                                                                                         payment      service byprovider,
                                                                                                                                                                                  You or onor Your
                                                                                                                                                                                              a     behalf
     the lease is in default. The excerpt of that language appears below.
      consulting
      is dishonored,
      not permitted
      the
                    service
           amount ofby
                              provider,
                          returned,
                            this Lease
                         $30.00
                                           to the extent
                                      or rejected
                                          includes,
                                   in addition
                                                      by the they
                                                       by amount
                                                  to the
                                                                   areor
                                                                 bank   also
                                                           way of example
                                                                              permitted by
                                                                           is otherwise
                                                                      of the checkand not
                                                                                                 applicable law
                                                                                             unsuccessful
                                                                                           by limitation,
                                                                                       or payment,      any massage
                                                                                                                   and conform
                                                                                                               through   no fault to
                                                                                                                         therapy,
                                                                                                             late charges,
                                                                                                                                    of each
                                                                                                                               and retail
                                                                                                                                             of theYou
                                                                                                                                       Landlord,     requirements
                                                                                                                                          salesamounts
                                                                                                                                    any other
                                                                                                                                                                      listed herein.
                                                                                                                                                         shall pay Landlord
                                                                                                                                                  or a home    childDishonored,
                                                                                                                                                            owed.
                                                                                                                                                                                        A business
                                                                                                                                                                                  a service   charge in
                                                                                                                                                                      care service.returned, rejected,
      or unsuccessful checks, direct debits, ACH transactions, or other electronic payments shall be redeemed only by cashier’s check, certified check or
      15. DEFAULT        BY  YOU:
      money order, and, after two dishonored, returned or rejected payments, You shall pay all future rents and charges due under this Lease only by
      cashier’s check, certified check or money order.
      15.1 If You fail to pay any rent or other charges as and when due hereunder, or if You abandon the Apartment or fail to perform any of Your obligations
      hereunder, or if You violate any provision of this Lease or any rules and regulations, or if You materially affect the health and safety of others in the
      2.3 Nothing in this Lease shall constitute a waiver or limitation of Landlord’s right to institute legal proceedings for rent, damages and/or repossession of
      Apartment or on the Premises, or if You violate any criminal laws on the Premises, regardless of whether arrest or conviction occurs, or if any facts
      the Apartment for non-payment of any installment of rent when and as the same becomes due and payable.
      contained in Your rental application (Residential Lease Application) are untrue or misleading, then, upon the happening of any said events, You shall be
      in WRITTEN
      3. default hereunder
                      NOTICE TO  andVACATE
                                      LandlordREQUIREMENT
                                                   may at its option   AND(a)AUTOMATIC
                                                                               terminate this      Lease, orTERM
                                                                                                RENEWAL        (b) terminate Your rights of possession, or (c) pursue any other rights,
      remedies, claims, or legal actions, whether in law or in equity, without terminating this Lease, by written notice to You. To the extent permitted by law,
      notice
      3.1      to cure
          Either   partydefault   is not required
                           may terminate              but, ifatgiven,
                                              this Lease               shall
                                                                 the end      not initial
                                                                           of the  waiveLease
                                                                                            Landlord’s
                                                                                                    term right   to terminate
                                                                                                           by delivering        orother
                                                                                                                           to the  insistparty
                                                                                                                                          on strict
                                                                                                                                                sixtycompliance.
                                                                                                                                                       (60) days' written notice prior to the Lease
      End Date.
      15.2 You shall surrender possession of the Apartment and any Storage Unit, Parking, or Garage area to Landlord upon the effective date of such
      3.2 Without notice
      termination  sixty (60)
                          anddays'  prior written
                               You shall          notice,
                                          be liable        then this
                                                    to Landlord    for,Lease will automatically
                                                                        and shall               renew against,
                                                                                  indemnify Landlord  on a month-to-month     basis
                                                                                                               all rent loss and     withexpenses
                                                                                                                                 other    all other terms  and conditions
                                                                                                                                                    (for re-letting, cleaning or
      otherwise making
      remaining  the same,thesubject
                              Apartment   suitable
                                     to any   changeforinre-letting) suffered
                                                          rent, including  theor  incurred
                                                                               Monthly     by Landlord
                                                                                         Base  Rent andas a result of
                                                                                                        Additional     Your The
                                                                                                                     Sums.   default andwill
                                                                                                                                 Lease     thecontinue
                                                                                                                                               termination   of the Lease.renew
                                                                                                                                                        to automatically
              7. Movant filed an eviction against the Debtor for the pre-petition defaults under the
      on a month-to-month basis until terminated by either party providing at least thirty (30) days' written notice of termination to the other party before the end of
      15.3
      a    Landlord's
        monthly renewal application
                           period. of Your Security Deposits (if any) shall not relieve You of liability for any other rent, charges, damages or other costs until
     lease
      3.3
      pastTHE
               between
               FOLLOWING
           or future
                                Movant
                              PROVISIONS
                     rent or other
                                               and Debtor.
      the term of this Lease expires, or the Apartment is re­rented, whichever comes first. Accepting money does not waive Landlord’s rights to damages,
                                   sums, or,REGARDING
                                            if allowed by WRITTEN    NOTICE
                                                          law, to continue    BYthe
                                                                           with   YOU  APPLY
                                                                                    eviction   UNLESS PROHIBITED
                                                                                             proceedings.             UNDER
                                                                                                          Exercising one     APPLICABLE
                                                                                                                         remedy            LAW: an election
                                                                                                                                will not constitute
      or waiver of other remedies.

      MUST    8. Those pre-petition defaulted rents total $4,371.00.
      3.3.1 YOU UNDERSTAND AND AGREE THAT, IN ORDER FOR YOU TO TERMINATE THIS LEASE AT THE END OF THE INITIAL LEASE TERM, YOU
             PROVIDE
      15.4 Once      TO LANDLORD
                You have vacated the WRITTEN
                                     Apartment,NOTICE
                                                You willAT
                                                        be LEAST  SIXTY (60)ofDAYS
                                                           sent a statement         PRIOR
                                                                               deposit      TO THE
                                                                                       that may      LEASE
                                                                                                indicate     END DATE.
                                                                                                         a balance due to Landlord. Any such balance
      outstanding thirty (30) days after mailing of the statement shall bear interest at the rate of sixteen percent (16%) per annum or, if such rate is usurious,
              9. Debtor filed for relief under Chapter 13 of the U.S. Bankruptcy Code on
      3.3.2 YOU UNDERSTAND AND AGREE THAT LANDLORD’S EMPLOYEES ARE NOT AUTHORIZED TO ACCEPT A VERBAL NOTICE OF A LEASE NON­
      RENEWAL, SURRENDER, TERMINATION, OR EARLY TERMINATION FROM YOU.                                              Page 10 of 23


     09/23/2019.
      3.3.3 YOU HAVE NO RIGHT TO RELY ON ANY STATEMENT BY LANDLORD’S EMPLOYEES THAT A VERBAL NOTICE IS ACCEPTABLE.

      3.3.4 YOUR NOTICE MUST BE IN WRITING, DATED, AND SIGNED BY AT LEAST ONE RESIDENT ON THIS LEASE, AND MUST SPECIFY THE MOVE-

              10. Debtor filed a plan of reorganization on October 3, 2019 proposing to cure the
      OUT DATE. NOTICE FROM ONE RESIDENT CONSTITUTES NOTICE FROM ALL RESIDENTS FOR PURPOSES OF THIS PARAGRAPH.

      3.3.5 YOU SHOULD CONFIRM RECEIPT OF THE NOTICE BY LANDLORD WITH THE AUTHORIZED SIGNATURE OF A LANDLORD REPRESENTATIVE
     arrearage of $4,371 owed to Movant by making those payment over 57 months.
      USING LANDLORD’S PRESCRIBED FORM.

      3.3.6 YOU SHOULD KEEP A SIGNED RECEIPT OF THE WRITTEN NOTICE FOR YOUR PERSONAL RECORDS IN CASE OF ANY DISPUTE AS TO
              11. Tenant’s plan proposed to keep current on the post-petition rent owed to Movant
      WHETHER SUCH NOTICE WAS GIVEN TO AND RECEIVED BY LANDLORD.

      3.4 IF YOU DO NOT OBTAIN OR CANNOT PRODUCE A SIGNED RECEIPT OF THE WRITTEN NOTICE FROM LANDLORD, OR IF LANDLORD DOES NOT
     pursuant to Section 4.1.
      HAVE A SIGNED ORIGINAL NOTICE(S) FROM AT LEAST ONE RESIDENT, THEN A PRESUMPTION SHALL ARISE THAT YOU FAILED TO GIVE A
      PROPER NOTICE.

                                                                                       ARGUMENT
      4. FAILURE TO FULFILL LEASE CONTRACT AND RESIDENT’S OPTION FOR EARLY LEASE TERMINATION, or TRANSFER TO ANOTHER
      LANDLORD APARTMENT OR PROPERTY:

                    The Debtor is proposing to assume and ‘promptly’ cure the outstanding pre-
      4.1 Failure to fulfill Lease Contract: Regardless of the reason, whether You are evicted, move prior to the expiration of the lease term with notice or
      "skip" (move out prior to the expiration of the lease term without notice), You will be responsible for the amounts set forth in this section 4.1.

     petition        lease
      4.1.1 If this Lease     payment
                          terminates           through
                                     prior to the expiration ofthe   repayment
                                                                the Term as the result ofof  the $4,371
                                                                                         an eviction or a skip or over     57Youmonths.
                                                                                                                  in order for                 This
                                                                                                                                 to terminate the lease is
                                                                                                                                                        priornot
                                                                                                                                                              to thea
      expiration of the Term, You must:
     prompt       repayment of that obligation. Movant objects to this treatment and requests that
      4.1.1.1 Give Landlord sixty (60) days' written notice or pay an additional termination fee equal to rent for the period equal to sixty (60) days less the
      actual number of days notice you provided ("Additional Termination Fee") (e.g., if you only give fifteen (15) days notice you will pay your standard rent
     the     Court
      for fifteen       deny
                  (15) days      the
                            plus an    confirmation
                                    additional                  of the
                                               termination fee equal to rentplan     because
                                                                            for forty-five (45) days)it  fails
                                                                                                      at the time to   promptly
                                                                                                                  of giving notice; PLUScure the arranges

      4.1.1.2 Pay all monies due through date of termination, including, but not limited to, the payment of prorated rent; PLUS
     owed to Movant.
      4.1.1.3 Pay a fee in an amount equal to the sum of two times Your Monthly Base Rent (“Early Termination Fee”) at the time of giving notice.

                    When determining if the assumption and cure is a prompt repayment the court
      4.1.2 The early termination of the Lease shall not relieve You of Your responsibilities and obligations regarding any damage beyond normal wear and
      tear to the Apartment.
     must make a case-by-case determination of what constitutes prompt by looking the
                                                                                                                                                                                              Page 3 of 23
     following factors:
                    1. the nature of the leased property;
                    2. the provisions of the lease;
                    3. the amount of the arrearage under the lease;



                                                                                                      2
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          4. the remaining term of the lease; and
          5. the provisions of the debtors proposed plan.”

          In re Reed, 226 B.R. 1, 2 (Bankr. W.D. Ky. 1998) (followed by In re
          Randolph, No. 06-03729-JW, 2006 Bankr. LEXIS 2974, at *2-3 (Bankr.
          D.S.C. Oct. 26, 2006))

          The leased property is the Debtor’s current residence, is a one-year lease that will
  term out in June of 2020. The Debtor is currently behind by two months1 for pre-petition
  rent, and the plan proposes to keep making payments to Movant for years after the end of
  the lease.
          Movant asserts that this proposal of making lease payments for years after the
  lease not prompt. Movant further asserts that a prompt repayment should cause the
  arrearage to be cured no later than the end of the lease term. Movant is permitted to
  choose with whom it contracts and if the arrearage is not promptly cured, may choose not
  to renew the lease when it matures in 2020. This Court has previously determined that “a
  57 month cure is not a prompt cure of the arrearage owed . . . and that Debtors must cure
  all arrearage owed . . . within 12 months if they wish to assume the contract[.]” In re
  Randolph, No. 06-03729-JW, 2006 Bankr. LEXIS 2974, at *2-3 (Bankr. D.S.C. Oct. 26,
  2006). The Randolph case was for the cure of a land installment contract, and Court
  states in its opinion that there is no information about how many months are left in the
  contract in the record. The Randolph Court referenced In re Morgan 181 B.R. 579 (N.D.
  Al. 1994) in its opinion. The Morgan case established 6 months as a rule of thumb cure
  for a residential lease.


      Movant asserts that this rule of thumb is the appropriate way treat a cure in a
  residential scenario rather than proposing a 57-month repayment. This benefits the
  tenant, presumably, since the tenant wants to renew the lease at the end of the lease and is
  currently benefiting from having a place to live while operating under her plan. Movant
  further asserts that this six-month rule of thumb for a prompt cure should be adopted by
  this jurisdiction and should deny confirmation of this plan proposing a 57 month cure.


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   As of the date of this pleading, the Debtor had not made the October rent payment was
  currently late on that payment as well.

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       WHEREFORE, Movant respectfully requests that after such notice and hearing as
  this Court deems appropriate, the Court deny confirmation of the Plan and order the
  Debtor(s) to amend the Plan to conform to this objection, and to award any additional
  relief as the Court may deem proper.




                                                Markham Law Firm, LLC
  Date Filed: October 7, 2019
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